 From:               Michael Hill
 To:                 Debra Frost
 Subject:            Read: CLAIM FORM/NOTICE RECEIVED AFTER CLAIM DEADLINE: PG&E Bankruptcy Case #19-30088 (DM)
 Date:               Friday, May 1, 2020 3:14:55 PM
 Importance:         High

 Your message
    To: Michael Hill
    Subject: CLAIM FORM/NOTICE RECEIVED AFTER CLAIM DEADLINE: PG&E Bankruptcy Case #19-30088 (DM)
    Sent: Friday, May 1, 2020 4:12:20 PM (UTC-05:00) Eastern Time (US & Canada)
  was read on Friday, May 1, 2020 4:14:14 PM (UTC-05:00) Eastern Time (US & Canada).




Case: 19-30088          Doc# 7063-3           Filed: 05/04/20         Entered: 05/04/20 16:30:54             Page 1
                                                       of 1
